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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                          C ASE N O .:19-20544-ClV-M AR TIN EZ/A O R


   LAR RY K LA Y M AN ,

         ProsePlaintiff,



   TH O M AS J.FITTON ,

         D efendant.
                                                 /

                           O R D ER DEN YIN G M O TIO N T O STR IK E

         THIS CAUSE camebeforetheCourtupon DefendantThomasFitton's(l:Defendant''or
  CdFitton'') M otion to Strike Plaintiff'sDe Facto Sur-Reply ED.E.421(hereafter,tsM otion to
  Strike'')(D.E.442. Thismatterwasrefen'
                                       ed tothetmdersigned ptlrsuantto28U.S.C.j636by
  theHonorableJoseE.M artinez,UnitedStatesDistrictJudge gD.E.51.Upon dueconsideration,
  itis

         ORDERED AND ADJUDGED thattheM otiontoStrikeLD.E.44)isDENIED.
         DONEANDORDEREDinChambersatMiami,FloridathisLJY ayofJuly,2019.

                                                      A LICIA M .OTA ZO X Y ES
                                                      UNITED STATES M AGISTRATE JUDGE

  ec:    U nited States D istrictJudge JoseE .M artinez
         Cotm selofRecord
